                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS


 RYAN PORTER, on behalf of himself and all others
 similarly situated,                                      Case No. 1:20-cv-11897-RWZ

                               PLAINTIFF,                 PLAINTIFF’S FIRST AMENDED
                                                          CLASS ACTION COMPLAINT
              v.

 EMERSON COLLEGE,
                                                          JURY TRIAL DEMANDED
                                DEFENDANT.




       Plaintiff Ryan Porter (“Plaintiff”), by and through the undersigned counsel, brings this

class action against Defendant Emerson College (“Emerson,” the “College,” or “Defendant”), and

alleges as follows based upon information and belief, except as to the allegations specifically

pertaining to him, which are based on personal knowledge.

                                 NATURE OF THE ACTION

       1.      This is a class action lawsuit on behalf of all persons who paid tuition and/or fees

to attend Emerson College for in person hands-on educational services and experiences for the

semesters or terms affected by Coronavirus Disease 2019 (“COVID-19”), including the Spring

2020 semester, and had their course work moved to online only learning and failed to receive the

services for which they paid fees.

       2.      Students, like Plaintiff, were required to pay tuition for the Spring 2020 semester

to attend Emerson, including a typical tuition price of approximately $23,928.00 for undergraduate

students, and a mandatory UG Student Services Fee of $436.00 (“Mandatory Fee”). Additionally,

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students typically were required to pay over $9,000.00 in room and board if they resided on

Emerson housing.

          3.       Emerson has not refunded any amount of the tuition or any of the Mandatory Fees,

even though it canceled in-person classes on or about March 13, 2020, and began the transition to

online only learning starting on March 23, 2020.

          4.      Because of the College’s response to the COVID-19 pandemic, on or about March

13, 2020, the College also stopped providing services or facilities the Mandatory Fees was

intended to cover.

          5.      According to a public release on March 10, 2020 Emerson announced “…the

college has made the difficult decision to transition all in-person classes to online learning for the

remainder of the spring term…Friday, March 13 will be the last day of in-person classes on our

Boston campus…beginning March 23, classes will resume remotely.”1 In a follow up release on

March 13, Emerson announced that students who are able to safely leave must vacate the residence

halls by Friday, March 20 for the remainder of the spring term.2

          6.      The College’s failure to provide the services for which tuition and the Mandatory

Fees were intended to cover since approximately March 13, 2020 constitutes a breach of the

contracts between the College and Plaintiff and the members of the Class and is unjust.

          7.      In short, Plaintiff and the members of the Class have all paid for tuition for a first-

rate education and on-campus, in person educational experiences, with all the appurtenant benefits

offered by a first-rate College. Instead, students like Plaintiff were provided a materially deficient

and insufficient alternative, which constitutes a breach of the contracts entered into by Plaintiff

with the College.


1
    https://today.emerson.edu/2020/03/10/update-on-covid-19-moving-classes-online/
2
    https://today.emerson.edu/2020/03/13/important-covid-19-update-march-13/

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       8.      As to the Mandatory Fee, Plaintiff and the Class have paid fees for services and

facilities that were simply not provided.

       9.      Emerson College has promoted and marketed that the Student Service fee “is a

consolidation of campus-required fees that support several College services.”3 Which includes:

                  a. Student Services – “The Student Services Fee supports all departments that

                      provide student-oriented services and activities on campus, such as the

                      Registrar’s Office (registration), Student Life (orientation), and the

                      Commencement Office.”4

                  b. Student Government Association – “The Student Government Association

                      Fee is charged to support student club- and organization-related programing

                      and activities.”5

                  c. Health Services – “The Health Services Fee enables students to access the

                      College’s Counseling and Psychological Services and the Center for Health

                      and Wellness during the fall and spring terms.”6

       10.     This failure also constitutes a breach of the contracts entered into by Plaintiff with

Defendant.

       11.     Plaintiff and the Class have been deprived of access to these facilities and services

as a result of Defendant’s response to the Coronavirus. This failure also constitutes a breach of the

contracts entered into by Plaintiff with Defendant.



3
  Emerson 2019-2020 Undergraduate Catalogue, Pg. 45
https://www2.emerson.edu/sites/default/files/Files/Academics/academic-affairs-undergrad-catalogue-
2019-2020.pdf?_ga=2.140005239.576087979.1609866693-958071244.1609866693 (accessed as of Jan.
5, 2021)
4
  Id.
5
  Id.
6
  Id. at 46.

                                                 3
       12.     Rather than offer partial refunds, credits, or discounts to students like Plaintiff and

the Class and balance the financial difficulties associated with Covid-19, Defendant has instead

elected to place the financial burden entirely upon its students by charging then full tuition and

fees when the services Emerson provided were not the full educational opportunities, experiences,

and services that Plaintiff and the Class agreed to.

       13.     Plaintiff does not challenge Defendant’s compliance with the Covid-19 orders that

were in place in Massachusetts. Rather, Plaintiff challenges Defendant’s decision to retain monies

paid by students like Plaintiff and refuse to offer any refunds, provide any discounts, or apply any

credit to Plaintiff and Class members’ accounts when Defendant failed to provide the in-person

and on-campus services.

       14.     Plaintiff seeks, for himself and the Class members, the College’s disgorgement and

return of the pro-rated portion of its tuition and Mandatory Fees, proportionate to the amount of

time in the respective semesters when the College closed and switched to online only learning.

The return of such amounts would compensate Plaintiff and the Class members for damages

sustained by way of Defendant’s breach.

       15.     Plaintiff seeks for himself and the Class members protections including injunctive

and declaratory relief protecting Class Members from paying the full cost of tuition and Mandatory

Fees during the pendency of the pandemic in light of the educational services, opportunities, and

experiences Defendant can actually safely provide.

       16.     Plaintiff and members of the Class are entitled to a pro-rated refund of tuition and

Mandatory Fees for the duration of Defendant’s Covid-19 related closures for the in-person

education and on-campus services and opportunities that Plaintiff and members of the Class have

been denied.



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                                            PARTIES

       17.     Plaintiff Ryan Porter was an undergraduate student during the Spring 2020

semester. In the Spring 2020 semester, Emerson charged Plaintiff approximately $23,928.00 in

tuition and $436.00 for a UG Student Services Fee. Additionally, Plaintiff Porter was charged

$9,200.00 for room and board. Emerson later provided a pro-rated refund for room and board.

       18.     Plaintiff Porter is a resident of Mission Viejo, California.

       19.     Prior to beginning the Spring 2020 semester, and prior to paying tuition and fees,

Plaintiff consulted that Course Catalog and enrolled in courses for the Spring 2020 semester. In

consulting the Course Catalog, Plaintiff understood and believed that every course in which he

enrolled was to be taught in-person. Plaintiff’s understanding and belief was based on the course

specifying an on-campus location where the course would be taught, as well as that the courses

were not listed as “Hybrid” or “Online” on the Course Catalog. Thus, the in-person nature of the

course was part of the benefit of the bargain, and Plaintiff would not have paid as much, if any,

tuition and fees for the Spring 2020 semester at Emerson College had he known that the course

would not, in fact, be taught in-person.

       20.     Plaintiff Porter paid tuition and Mandatory Fees for in-person educational services,

experiences, opportunities, and other related collegiate services. Plaintiff Porter has not been

provided a pro-rated refund of the tuition for his in-person classes that were discontinued and

moved online, or the Mandatory Fees he paid after the College’s facilities were closed and events

were cancelled.

       21.     Defendant Emerson College is a private College located in Boston, Massachusetts.

Emerson College also maintains a satellite campus in Los Angeles, California

       22.     Emerson that was founded in 1880 as the Boston Conservatory of Elocution,



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Oratory, and Dramatic Arts. Defendant offers numerous major fields for undergraduate students,

as well as a number of graduate programs.

        23.     Defendant’s undergraduate and graduate programs includes students from many, if

not all, of the states in the country. Defendant is a citizen of Massachusetts.

                                  JURISDICTION AND VENUE

        24.     This Court has jurisdiction under the Class Action Fairness Act, 28 U.S.C. §

1332(d)(2)(A), because the matter in controversy exceeds the sum or value of $5,000,000,

exclusive of interests and costs, and is a class action in which one or more of the other Class

members are citizens of a State different from the Defendant.

        25.     This Court has personal jurisdiction over Defendant because it resides in this

District.

        26.     Venue is proper in this District pursuant to 28 U.S.C. § 1391(b)(1), because

Defendant resides in this District and is a resident of this District.

        27.     Plaintiff attended Emerson in this District and in the Commonwealth of

Massachusetts.

                                   FACTUAL ALLEGATIONS.

        28.     Plaintiff and Class Members paid tuition and Mandatory Fees to attend Emerson’s

Spring 2020 semester. The Spring 2020 semester started on January 14, 2020 and ended on or

around May 1, 2020.

        29.     Tuition at Emerson was approximately $23,928.00 for undergraduate students, and

a Mandatory Fee for each semester of approximately $436.00. Additionally, students could be

required to pay over $9,000.00 in room and board if they resided in Emerson housing.

        30.     Plaintiff and the members of the Class paid tuition for the benefit of on-campus live



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interactive instruction and an on-campus educational experience throughout the semesters.

        31.    Plaintiff and Emerson entered into a contractual agreement where Plaintiff would

provide payment in the form of tuition and fees and Defendant, in exchange, would provide in-

person educational services, experiences, opportunities, and other related services.

        32.    The terms of the contractual agreement were set forth in the documents and

materials provided to Plaintiff from Emerson, including, but not limited to, Emerson’s website,

marketing materials, the application for admission submitted by Plaintiff and Class Members, the

acceptance letters received by Plaintiff and Class Members, the registration materials, the course

catalog, course listings, the registration materials, the bills/invoices, the student handbook, and

other materials that were provided to Plaintiff and the Class Members.

        33.    Prior to Plaintiff’s enrollment, Emerson highlighted in marketing materials,

advertisements, and other documents that in-person educational opportunities, experiences, and

services were invaluable to Plaintiff’s educational experience.

        34.    Defendant offered these services to Plaintiff in exchange for payment of tuition and

fees.

        35.    Defendant offered these services to Plaintiff in exchange for payment of tuition and

fees during various semesters during his enrollment, including the Spring 2020 term.

        36.    Plaintiff made payments to Defendant based on promises made by Emerson in those

documents in lieu of receiving education at other colleges, universities, or academic institutions –

or enrolling in online only institutions.

        37.    Defendant priced the cost of tuition based on the assumption of a full term of in-

person learning.

        38.    Upon information and belief, Defendant priced the Mandatory Fee based on the



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amount of services that students like Plaintiff would receive via in-person access.

       39.     Throughout March 2020, the College made public announcements adjusting

educational services and opportunities that affected Plaintiff.

       40.     Defendant has not held any in-person classes since March 13, 2020 for

undergraduate students. All classes since March 13, 2020 have only been offered in a remote

online format with no in-person instruction or interaction.

       41.     The services for which the Mandatory Fee was assessed were also terminated or

cancelled at or about this time, such as access to Emerson’s film production, post production, and

equipment facilities, health and wellness facilities, programs or services; fitness facilities; student

events or sports; and an in-person commencement.

       42.     As a result of Defendant’s response to the Coronavirus, Plaintiff and the Class were

denied access to such facilities, services, and technology despite paying the Mandatory Fee.

       43.     Emerson has not provided reimbursement or refund information regarding tuition

or the Mandatory Fee.

       44.     Students attending Emerson’s Spring 2020 semester did not choose to attend an

online only institution of higher learning, but instead chose to enroll in Emerson’s in-person

educational programs – with the understanding that Emerson would provide in-person educational

opportunities, services, and experiences.

       45.     On its website and in its documents, Emerson markets the College’s on-campus

experience and opportunities as a benefit to students. Emerson’s touts its “Emerson Life” stating

“When you come to Emerson, you become part of a creative force. You add your voice to a

community of independent minds searching for new ways to learn, to share, to engage with the

world—and to change it for the better. Our classrooms are settings for exploration and debate as



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well as scholarship. They are not just desk-filled rooms; they are also studios, stages, and even

sidewalks, all places for self-discovery. As an Emerson student, you will immerse yourself in

experiences that extend across campus. You will discover places where you can laugh, play, or

lounge. It’s all here—a complete life at Emerson—where you will find other wonderful and unique

people to both learn from and inspire.”7

          46.    Defendant marketed and conveyed the in-person experiences, including through

sample materials like this:




7
    https://www.emerson.edu/emerson-life

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          47.    Emerson was unable to offer the educational or similar experiences as detailed in

the marketing materials and documents provided to Plaintiff and similarly situated individuals

because of COVID-19.

          48.    Emerson uses its website, promotional materials, circulars, admission papers, and

publications to tout the benefit of being on campus and the education students will receive in its

facilities.

          49.    On its website Emerson:

                 a.      Touts the benefit of living on campus “At Emerson, the city is your home—
                 but you’ll also find the reassuring feel of a caring campus community. Living in
                 our on-campus residence halls will give you the opportunity to build your personal
                 network and develop lasting friendships. Resident assistants and residence directors
                 are here to guide you.”

                 b.      Promotes the hands-on experience students gain through its student
                 organizations “With more than 100 student organizations on campus, students truly
                 shape our community. Join like-minded friends in sponsoring events, putting on
                 productions, attending workshops, and running publications. You’ll gain real-life,
                 hands-on experiences while honing your leadership skills and embracing campus
                 life.”8

          50.    However, that is not what students, including Plaintiff and the Class, received

during the semesters affected by COVID-19.

          51.    As a result of COVID-19, the online-only learning options offered to Emerson’s

students was different in practically every aspect as compared to what the educational experience

afforded Plaintiff and the members of the Class once was. During the online portion of the Spring

2020 semesters, Emerson used programs by which previously recorded lectures were posted online

for students to view on their own or by virtual Zoom meetings. Therefore, there was a lack of

classroom interaction among teachers and students, and among students that was expected as per

typical in person learning settings.


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    https://www.emerson.edu/emerson-life/campus

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       52.     Certain online formats being used by Emerson do not require memorization or the

development of strong study skills given the absence of any possibility of being called on in class

and the ability to consult books and other materials when taking exams.

       53.     Students, like Plaintiff, have been deprived of the opportunity for collaborative

learning and in-person dialogue, feedback, and critique.

       54.     Students, like Plaintiff, were denied access to facilities, such as libraries,

laboratories, computer labs, recreation centers, specialized stages, film production rooms and

equipment, and study rooms, that are integral to Emerson’s educational services for which Plaintiff

paid a premium.

       55.     Students, like Plaintiff, were denied access to activities offered by campus life that

foster intellectual and academic development and independence, and networking for future careers.

       56.     Emerson priced the tuition and Mandatory Fee based on the in person educational

services, opportunities and experiences it was providing on campus.

       57.     Emerson has not made any refund of any portion of the tuition Plaintiff and the

members of the Class paid for during the semesters affected by Covid-19.

       58.     Emerson has not refunded any portion of the Mandatory Fee it collected from

Plaintiff and the members of the Class for the affected semester even though it closed or ceased

operating the services and facilities for which the Mandatory Fee covered.

       59.     Plaintiff and the Class members are therefore entitled to a pro-rated refund of the

tuition and Mandatory Fee they paid for the Spring 2020 semester for the remaining days of that

semester after classes moved from in-person to online and facilities were closed, and for the future

semesters where in-person classes are cancelled and moved online.

       60.     Defendant’s practice of failing to provide reimbursements for tuition and the



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Mandatory Fee despite the diminished value of the education and other experiences that it

provided, and the reduced benefits associated with the fees, as alleged herein, violates generally

accepted principles of business conduct.

                                  CLASS ACTION ALLEGATIONS

       61.     Plaintiff brings this case individually and, pursuant to FRCP 23, on behalf of the

class defined as:

               All persons who paid, or will pay, tuition and/or the Mandatory Fee for a
               student to attend in-person class(es), at Emerson College, during the Spring
               2020 or any other semester affected by Covid-19 at Emerson College but
               had their educational experiences and class(es) moved to online only
               learning (the “Class”).

       62.     Plaintiff reserves the right to modify or amend the definition of the proposed Class

if necessary, before this Court determines whether certification is appropriate.

       63.     This action has been brought and may properly be maintained on behalf of the Class

proposed herein under the criteria of FRCP 23 and other statutes and case law.

       64.     The Class is so numerous that joinder of all members is impracticable. Although

the precise number of Class members is unknown to Plaintiff, the College has reported

approximately 4,900 or more undergraduate and graduate students were enrolled for the 2019-

2020 school year. The names and addresses of all such students are known to the College and can

be identified through Defendant’s records. Class members may be notified of the pendency of this

action by recognized, Court-approved notice dissemination methods, which may include U.S.

Mail, electronic mail, Internet postings, and/or published notice.

       65.     The questions here are ones of common or general interest such that there is a well-

defined community of interest among the class members. These questions predominate over

questions that may affect only individual members of the Class because Emerson has acted on



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grounds generally applicable to the classes. Such common legal or factual questions include, but

are not limited to:

               a.     Whether Defendant accepted money from Plaintiff and the Class
                      members in exchange for the promise to provide an in-person and
                      on-campus live education, as well as certain facilities and services
                      throughout the semesters affected by Covid-19;

               b.      Whether Defendant breached its contracts with Plaintiff and the
                      members of the Class by failing to provide them with an in-person
                      and on-campus live education after March 13, 2020;

               c.     Whether Defendant breached its contracts with Plaintiff and the
                      Class by failing to provide the services and facilities to which the
                      Mandatory Fees pertained after mid-March 2020;

               d.     Whether Defendant breached the covenant of good faith and fair
                      dealing with Plaintiff and the members of the Class by failing to
                      provide them with an in-person and on-campus live education after
                      March 13, 2020;

               e.     Whether Defendant breached the covenant of good faith and fair
                      dealing with Plaintiff and the members of the Class by failing to
                      provide the services and facilities to which the Mandatory Fees
                      pertained after mid-March 2020;

               f.     Whether Defendant was unjustly enriched by retaining all of the
                      tuition and the Mandatory Fee during the time when Emerson has
                      been closed, and Plaintiff and the members of the Class have been
                      denied an in-person and on-campus live education and access and
                      the services and facilities for which the Mandatory Fee was paid;

               g.     Whether Defendant intentionally interfered with the rights of the
                      Plaintiff and the Class when it cancelled all in-person classes and
                      only provided a remote online format, cancelled all on-campus
                      events, strongly encouraged students to stay away from campus, and
                      discontinued services for which the Mandatory Fee was intended to
                      pay, all while retaining the tuition and the Mandatory Fee paid by
                      Plaintiff and the Class; and

               h.     The amount of damages and other relief to be awarded to Plaintiff
                      and the Class members.

       66.     Plaintiff’s claims are typical of the claims of the members of the Class because



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Plaintiff and the other Class members each contracted with Defendant for it to provide an in-person

and on-campus live education for the tuition they paid and the services and facilities for the

Mandatory Fee that they paid, that the College stopped providing in mid-March.

       67.     Plaintiff is a more than adequate class representative. In particular:

               a)      Plaintiff is committed to the vigorous prosecution of this action on
                       behalf of himself and all others similarly situated and has retained
                       competent counsel experienced in the prosecution of class actions
                       and, in particular, class action litigation;

               b)      because his interests do not conflict with the interests of the other
                       Class members who he seeks to represent;

               c)      no difficulty is anticipated in the management of this litigation as a
                       class action; and

               d)      Plaintiff’s legal counsel has the financial and legal resources to
                       meet the substantial costs and legal issues associated with this type
                       of litigation.

       68.     Class members’ interests will be fairly and adequately protected by Plaintiff and

his counsel.

       69.     It is impracticable to bring the individual claims of every Class member before the

Court. Class treatment permits a large number of similarly situated persons or entities to prosecute

their common claims in a single forum simultaneously, efficiently, and without the unnecessary

duplication of evidence, effort, expense, or the possibility of inconsistent or contradictory

judgments that numerous individual actions would engender. The benefits of the class mechanism,

including providing injured persons or entities with a method for obtaining redress on claims that

might not be practicable to pursue individually, substantially outweigh any difficulties that may

arise in the management of this class action. A class action is superior to other available methods

for the fair and efficient adjudication of this litigation. The damages or financial detriment suffered


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by individual Class members are relatively small compared to the burden and expense of individual

litigation of their claims against the College. It would, thus, be virtually impossible for the Class,

on an individual basis, to obtain effective redress for the wrongs committed against them.

Furthermore, individualized litigation would create the danger of inconsistent or contradictory

judgments arising from the same set of facts. Individualized litigation would also increase the

delay and expense to all parties and the court system from the issues raised by this action. By

contrast, the class action device provides the benefits of adjudication of these issues in a single

proceeding, economies of scale, and comprehensive supervision by a single court, and presents no

unusual management difficulties under the circumstances.

          70.   Plaintiff also seeks class certification for injunctive and declaratory relief under

FRCP 23(b)(2) and (b)(3), at the appropriate juncture.

                                 FIRST CLAIM FOR RELIEF
                                  BREACH OF CONTRACT
                              (On Behalf of Plaintiff and the Class)

          71.   Plaintiff repeats and re-alleges the factual allegations above, as if fully alleged

herein.

          72.   Plaintiff brings this claim individually and on behalf of the members of the Class.

          73.   Plaintiff and Class members entered into identical, binding contracts with

Defendant by accepting Defendant’s offer to register for on-campus classes in accordance with the

terms of the Catalogs, Defendant’s publications, and Defendant’s usual and customary practice of

providing on-campus courses.

          74.   The language on Defendant’s website, Catalogs, and in other materials made

available to students promising in-person instruction, campus facilities, services, and resources

became terms of the contract. That is, at the time of contract, the parties had the reasonable



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expectation that, in exchange for tuition and fee payments, Defendant would provide Plaintiff and

Class members with an on-campus education. The nature of the instruction provided by Emerson

at the time Plaintiff and Class members enrolled (i.e., in-person classroom instruction) as well as

the facilities and resources offered by Emerson were and are material terms of the bargain and

contractual relationship between students and Defendant.

       75.     Under their contracts with Defendant, and per Defendant’s usual and customary

practice of providing on-campus courses, Plaintiff and Class members registered for on-campus

courses and paid Defendant’s tuition and/or fees for Defendant to provide in-person instruction

and access to Defendant’s facilities.

       76.     When Plaintiff and Class Members sought to enter into a contractual agreement

with Defendant for the provisions of educational services for the Spring 2020 Semester, Plaintiff

and Class Members viewed the Course Catalog to make specific course selections prior to

registering and paying tuition and fees for those selected courses. Defendant’s Course Catalog

constitutes an offer to enter a contractual agreement.

       77.     The Course Catalog provided Plaintiff and Class Members with information

regarding the courses offered, the instructor, the days and times during which the courses would

be held, and the location in which the courses would be held.

       78.     Defendant has represented that its in-person educational opportunities, experiences,

and services are of substantial value.

       79.     Defendant has agreed to provide in-person educational opportunities, experiences,

and services to enrolled students.

       80.     Defendant has promoted its in-person educational services as being valuable to

students’ educational experiences and their development.



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       81.       In marketing materials and other documents provided to Plaintiff, Defendant

promoted the value of the in-person education experiences, opportunities, and services that

Defendant provided.

       82.       In marketing materials and other documents provided to Plaintiff, Defendant

promised to provide those in-person education experiences, opportunities, and services in

exchange for the payment of tuition and a Mandatory Fee.

       83.       Defendant provided Plaintiff with an acceptance letter that Plaintiff accepted based

on the promise of in-person educational experiences, opportunities, and services that Defendant

would provide.

       84.       Plaintiff and Class members have fulfilled all requirements of their mutually agreed

contracts, having followed the Catalogs’ policies, procedures, and requirements for registering and

paying for on-campus courses and access to on-campus facilities and services. Plaintiff and Class

members have paid Defendant for all financial assessments starting in the Spring 2020 semester.

       85.       By ceasing in-person instruction, relegating Plaintiff and Class members

exclusively to remote instruction, and shutting down campus facilities and opportunities to

Plaintiff and the Class, Defendant failed to provide the services for which Plaintiff and Class

members bargained when they entered into their contractual relationship with Defendant.

       86.       Defendant’s failure to provide in-person instruction and shutdown of campus

facilities amounts to a material breach of the contract.

       87.       Plaintiff and the members of the Class have therefore been denied the benefit of

their bargain.

       88.       Plaintiff and the members of the Class have suffered damage as a direct and

proximate result of Defendant’s breach, including being deprived of the education, experience,



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and services that they were promised and reasonably expected to obtain, and for which they have

paid.

          89.   Plaintiff and the Class members are entitled to an award of money damages or

partial restitution in an amount to be determined at trial as redress for Defendant’s breach,

including but not limited to prorated reimbursement of the tuition, fees, and other expenses for

services that Defendant failed and continues to fail to deliver fully.

          90.   Defendant’s performance under the contracts is not excused because of COVID-

19. Even if performance were excused or impossible, Defendant would nevertheless be required

to return the funds received for services and/or goods that it did not provide.

                                SECOND CLAIM FOR RELIEF
                                   UNJUST ENRICHMENT
                              (On Behalf of Plaintiff and the Class)

          91.   Plaintiff repeats and re-alleges the factual allegations above, as if fully alleged

herein.

          92.   In the alternative, Plaintiff brings this claim for unjust enrichment individually and

on behalf of the members of the Class.

          93.   By paying Emerson tuition and the Mandatory Fee for the Spring semester,

Defendant agreed to, among other things, provide an in-person and on-campus live education as

well as the services and facilities to which the Mandatory Fee that was paid pertained to throughout

the semester.

          94.   Defendant conveyed in writing in documents and in other materials to Plaintiff and

similarly situated individuals that it would provide in-person educational services, opportunities,

and experiences.

          95.   Defendant conveyed in writing in documents and in other materials that Plaintiff



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and similarly situated individuals would have access to the services for which they paid the

Mandatory Fee.

       96.       Defendant has retained the benefits of the amount of tuition and Mandatory Fee

that Plaintiff and similarly situated individuals has provided – without providing the benefits that

they are owed.

       97.       For example, Defendant failed to provide Plaintiff and the Class members access

to any on-campus facility after in or around March 13, 2020. Yet Defendant assessed Plaintiff with

tuition and the Mandatory Fee that covered the cost of upkeep and maintenance of such facilities,

services, costs, and expenses.

       98.       Plaintiff was not able to access such facilities or services remotely.

       99.       Plaintiff paid tuition and Mandatory Fees with the expressed understanding that

such costs included the in-person classes, services, opportunities, and experiences that Emerson

has previously marketed, promoted, or made available prior to COVID-19.

       100.      The costs incurred for having an online only program is significantly lower than

the overhead needed to provide classes and services on campus.

       101.      Defendant has been unjustly enriched by Plaintiff’s payment of tuition and the

Mandatory Fee.

       102.      Despite not being able to provide such services, Emerson failed to provide

reimbursements for tuition and the Mandatory Fee despite the diminished value of the education

and other experiences that it provided, and the reduced benefits associated with the fee.

       103.      Defendant’s act was unjust for them to keep money for services they did not render.

       104.      Defendant should be required to disgorge all profits resulting from such

overpayments and establish a constructive trust from which Plaintiff and Class Members may seek



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restitution.

                                 THIRD CAUSE OF ACTION
                           CONVERSION & TAKING OF PROPERTY
                              (On Behalf of Plaintiff and the Class)

          105.   Plaintiff repeats and re-alleges the factual allegations above, as if fully alleged

herein.

          106.   Plaintiff brings this claim individually and on behalf of the members of the Class.

          107.   Plaintiff and members of the Class provided Defendant with property in the form

of funds (tuition and the Mandatory Fee), in exchange for in-person on campus services, facilities

and face to face instruction.

          108.   Defendant exercises control over Plaintiff’s and Class members’ property.

          109.   Defendant intentionally interfered with Plaintiff’s and the Class members’ property

when it unilaterally moved all in-person classes to a remote online format, cancelled all on-campus

events, strongly encouraged students to stay away from campus, and discontinued services for

which the Mandatory Fee was intended to pay, all while retaining the tuition and Mandatory Fee

paid by Plaintiff and the Class.

          110.   Defendant has converted Plaintiff’s and the Class’ property – namely their tuition

and fees - into their own property9 without just compensation.



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  Indeed, colleges and universities must be able to separately account for student payments, as well as
financial aid received on an individual student’s behalf, as these institutions are frequently required to issue
refunds to the government and the student for instances where the student enrolls, but does not complete
classes for which the institution has received financial aid payments from the federal government. The
Higher Education Act (“HEA”), Title IV, governs federally funded student financial aid programs for
college and post-secondary vocational training. See 20 U.S.C. §§ 1070–1099 (1990 & 1992 Supp.). The
HEA requires that when a student withdraws partway through the enrollment period, the institution must
refund a certain portion of the charges to account for its reduced educational obligations toward the
student. Career Coll. Ass'n v. Riley, 74 F.3d 1265, 1269 (D.C. Cir. 1996). Thus, it is beyond dispute that
any college or university receiving any tuition payments through government-provided financial aid must
be able to account for what was paid for each individual student. This means that each student’s tuition
funds must be capable of being separately identified and sequestered, and a claim for conversion of those

                                                      23
        111.    Class members demanded the return of their property proportionate to the reduction

in benefit for education and services during the Spring 2020 semester when in-person and on-

campus live education, and access to the College’s services and facilities were unavailable.

        112.    Plaintiff and the Class members are entitled to the return of the pro-rated amounts

of tuition and the Mandatory Fee each paid equal to the reduction in benefit for education and

services during the Spring 2020 semester when in-person and on-campus live education, and

access to Defendant’s services and facilities were unavailable.

        113.    Defendant’s failure to return the tuition and fees paid by its students is a separate

and distinct harm from its failure to provide the promised and agreed-upon in-person learning and

on-campus services.

        114.    It is inequitable for Defendant to convert such funds into its own profits despite the

failure to provide such services, experiences, and opportunities.

                                      PRAYER FOR RELIEF

        WHEREFORE, Plaintiff respectfully requests that judgment be entered in favor of Plaintiff

and the Class against Defendant as follows:

                (a)     For an order certifying the Class under FRCP 23 and naming Plaintiff as

                        representative of the Class and Plaintiff’s attorneys as Class Counsel to

                        represent the Class;

                (b)     For an order finding in favor of Plaintiff and the Class on all counts asserted

                        herein;

                (c)     For compensatory damages in an amount to be determined by the trier of

                        fact;


funds can be properly sustained. Moreover, discovery will flesh out more information about the particular
accounting practices employed by Defendant.

                                                   24
               (d)     For an order compelling disgorgement of the ill-gotten gains derived by

                       Defendant from its misconduct;

               (e)     For an order of restitution and all other forms of equitable monetary relief;

               (f)     For an order awarding Plaintiff’s reasonable attorneys’ fees, costs, and

                       expenses;

               (g)     For an order awarding pre- and post-judgment interest on any amounts

                       awarded; and

               (h)     For an order awarding such other and further relief as may be just and

                       proper, including injunctive relief and declaratory relief.

                               DEMAND FOR TRIAL BY JURY

       Plaintiff demands a trial by jury of any and all issues in this action so triable.

Dated: January 26, 2021                        Respectfully submitted,

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                                              Counsel for Plaintiff and Proposed Class




                                      Certificate of Service

        I hereby certify that this document filed through the ECF system will be sent electronically
to the registered participants as identified on the Notice of Electronic Filing (NEF) on January 26,
2021.


                                                     /s/ Adam M. Stewart
                                                     Adam M .Stewart




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